     Case 2:18-cv-06081-JAK-SK              Document 256-1           Filed 11/14/19          Page 1 of 2 Page ID
                                                   #:2984


 1
      EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR CIVIL CASES
 2     Case No.:            2:18-cv-6081
 3
       Case Name:           Ms. J.P., et al. v. Jefferson B. Sessions III, Attorney General of the United States,
 4                          et al.

 5     Hearings:                                                   Plaintiff(s)    Defendant(s)      Court Order
                                                                   Request         Request
 6
            Jury Trial
            Court Trial                                            4/20/21
 7                                                                                4/20/21
       (Tuesday at 9:00 a.m.)
 8
       Duration Estimate:
 9
            Days
10          Weeks

11     Final Pretrial Conference (“FPTC”) & Status
                                                                   4/5/21
       Conference re Disputed Exhibits:                                           4/5/21
12     (Monday at 3:00 p.m.: Two weeks before the trial)
13
       Deadlines for Bench Trials Only:               Weeks        Plaintiff(s)    Defendant(s)      Court Order
14                                                    Before       Request         Request
                                                      FPTC
15     Anticipated Ruling to be Issued by Court       Same
                                                                   4/5/21
                                                      date                        4/5/21
16

17     Last Date to File Objections to Direct         2            3/22/21
       Testimony Declarations                                                     3/22/21
18
       Last Date to File Direct Testimony             3            3/15/21
19
       Declarations                                                               3/15/21
20
       Proposed Motion Practice for Motions           Weeks        Plaintiff(s)    Defendant(s)      Court Order
21     for Summary Judgment:                          Before       Request         Request
                                                      FPTC
22
       Hearing on Motion                                           No later than No later than 2-
23                                                                 2-11-21       11-21
       Reply to Motion                                             Per rule      Per Rule
24
       Response to Motion                                          Per rule       Per Rule
25

26     Last day to File Motion                                     No later than No later than 11-
                                                                   11-19-20      19-20
27

28
     Case 2:18-cv-06081-JAK-SK             Document 256-1       Filed 11/14/19        Page 2 of 2 Page ID
                                                  #:2985


 1
       Deadlines:                                   Weeks    Plaintiff(s)    Defendant(s)   Court Order
 2                                                  Before   Request         Request
                                                    FPTC
 3
       Anticipated Ruling on All Motions            4         3/8/21         3/8/21
 4
       Last Date to Hear Motions                    8         2/8/21         2/8/21
 5     (including discovery motions)

 6     Last Date to File Motions                    20       11/16/20       11/16/20
 7     (including discovery motions)

 8     Expert Discovery Cut-Off                     20       11/16/20       11/16/20

 9
       Expert Disclosure (Rebuttal)                 22       11/2/20        11/2/20
10
       Expert Disclosure (Initial)                  24        10/19/20       10/19/20
11

12     Non-Expert Discovery Cut-Off                 26        10/5/20        10/5/20

13     Last Date to Add Parties/Amend                        3/5/20         3/5/20
       Pleadings
14

15     Settlement Procedure Selection:                       Plaintiff(s)    Defendant(s)   Court Order
       (ADR-12 Form will be completed by Court after         Request         Request
16     scheduling conference)

17     1. Magistrate Judge                                   Completed
       2. Attorney Settlement Officer Panel                                 Completed
18
       3. Outside ADR/Non-Judicial (Private)
19
       Last day to conduct settlement conference/mediation   Completed      Completed
20
       Notice of Settlement / Joint Report re Settlement     Completed      Completed
21
       (10 days before PMSC)
22
       Post Mediation Status Conference:                     Completed      Completed
23     (Monday at 1:30 pm: 14 days after the last day to
       conduct settlement)
24

25

26

27

28
